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                                                                                 2013 Sep-26 AM 09:10
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

CHRISTINA HARDIN,                         )
                                          )
      Plaintiff,                          )
                                          )
v.                                        ) Case No.: 4:13-CV-1463-VEH
                                          )
CENTRAL CREDIT SERVICES,                  )
INC.,                                     )
                                          )
      Defendant.                          )

                                     ORDER

      Pending before the court is a Notice of Voluntary Dismissal (Doc. 10) (the

“Notice”) filed by Plaintiff on September 24, 2013. Insomuch as this Notice seeks

a voluntary dismissal of this action with prejudice, the court points out that, after

being notified of the parties’ settlement, the court dismissed this lawsuit with

prejudice on September 6, 2013. (Doc. 9).

      DONE and ORDERED this 26th day of September, 2013.



                                             VIRGINIA EMERSON HOPKINS
                                             United States District Judge
